Case 2:18-cv-O4541-|\/|AK Document 1 Filed 10/23/18 Page 1 of 21

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

DARRYL GARNER, : CIVIL ACTION
Plaintiff,
v.
NO.
JJAMM AUTO TRANSPORT LLC,
JURY TRIAL DEMANDED
Defendant.
To: United States District Court
Eastern District of Pennsylvania
NOTICE OF REMOVAL

Pursuant to 28 U.S.C. § § 1441 and 1446, Defendant named as JJAM Auto Transport, LLC,
(hereinafter “Defendant”) by and through its attorneys, Goldberg Segalla LLP, submits this Notice
of Removal from the Pennsylvania Court of Common Pleas, Philadelphia County, in which the
above-captioned matter is now pending, to the United States District Court for the Eastern District
of Pennsylvania. In support of said Notice, Defendant states as follows:

l. This is a personal injury action arising from an alleged motor vehicle accident that
occurred on August l7, 2016 on or about East Tioga Street, in the City of Philadelphia,
Commonwealth of Pennsylvania. A true and correct copy of Plaintijj's Complaint is attached
hereto as Exhibit “A”.

2. Plaintiff alleges that Defendant owned a car hauler, and a car detached from it and

struck Plaintiff. See Exhibit “A”.

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3. Plaintiff commenced this action on August 01, 2018 by filing a civil Complaint in
the Pennsylvania Court of Common Pleas, Philadelphia County bearing Docket No. 180703685,
and captioned above.

4. Defendant was served with a copy of the Summons and Complaint via certified
mail on September 25,, 2018. See Exhibit “B”.

5. Pursuant to 28 U.S.C. § l446(a) copies of all process, pleadings and orders in this
matter are attached hereto.

Timeliness of Removal

6. 28 U.S.C. § 1446(b)(3) reads in relevant part "...if the case stated by the initial
pleading is not removable, a notice of` removal may be filed within thirty days after receipt by the
defendant, through service or otherwise, of a copy of an amended pleading, motion, or other paper
from which it may first be ascertained that the case is one which is or has become removable."

7. Further, 28 U.S.C. § l446(c)(3)(A) provides "If the case stated by the initial
pleading is not removable solely because the amount in controversy does not exceed the amount
specified in section l332(a), information relating to the amount in controversy in the record of the
State proceeding, or in responses to discovery, shall be treated as "other paper" under subsection
(b)(3).

8. Since this Notice of Removal is being filed within thirty (30) days of Defendant's
first notice that the case is removable, it is timely filed pursuant to 27 U.S.C. § l446(b)(3).

Amoul_lt in Controversv

9. Since receipt of the Complaint, Defendant has contacted Plaintiff`s counsel in order

to ascertain if the amount in controversy exceeds $75,000.00, and suggested that if it does not, that

Plaintiff agree to sign a stipulation confirming same. See Exhibit “C”.

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10. This was filed as a major jury matter, which indicates that the amount in
controversy certainly exceeds $50,000.00 See Exhibit “A”.

l l. Plaintiff alleges that he sustained disc hemiations and/or protrusions at C4-C5, C5-
C6, C6-C7, C7-Tl, L5-S1, and L4-5, as a result of the subject accident. See Exhibit “A”.

12. Plaintiff also alleges that he has incurred various expenses for his medical
treatment, and will require future medical treatment He also claims lost wages and future lost
earning capacity as a result of the accident. See Exhibit “A”.

13. On or about October 22, 2018, Plaintiff`s counsel advised that he is unable to sign
a stipulation capping any potential recovery at $75,000.00. See Exhibit “D”.

14. Thus, it is clear that the amount in controversy exceeds $75,000.00.

Diversity of Citizenship

15. The Complaint indicates that plaintiff, Darryl Garner, is domiciled at 2651 N.
Darien Street, Philadelphia, Pennsylvania. See Exhibit “A”.

16. Defendant P.C. Richard is a New Jersey limited liability company. The only
members of the limited liability company are John Schlitter and Maureen Schlitter who are
domiciled in the state of Florida, and reside at 7 Northwest Place, Cape Coral, Florida.

17. Diversity of citizenship existed among the proper parties, Plaintiff and Defendant
when the Complaint was filed. Diversity of citizenship still exists among the proper parties at the
time this Notice of Removal is being filed.

Plea for Removal
18. This Honorable United States District Court has subject matter jurisdiction

over this action pursuant to 28 U.S.C. § 1332 because this is a civil action in which there

Case 2:18-cv-O4541-|\/|AK Document 1 Filed 10/23/18 Page 4 of 21

is complete diversity of citizenship between Plaintiff and Defendant, and in which the
amount in controversy exceeds $75,000, exclusive of interest and costs, as described below.

19. Therefore, this civil action is removable to this Court pursuant to 28
U.S.C. §1441.

20. Pursuant to 28 U.S.C. § l446(d), a copy of this Notice of Removal is being
submitted for filing with the Clerk of the Pennsylvania Court of Common Pleas, Philadelphia
County, and is being served upon Plaintiff.

2l. In filing this Notice of Removal, Defendant does not waive any defects in service
of process, venue or personal jurisdiction

23. For the foregoing reasons, this United States District Court has subject matter
jurisdiction over this action pursuant to 28 U.S.C. § l332(a).

WHEREFORE, Defendant files this Notice of Removal so that the entire State Court
Action under Docket No. 180703685, now pending in the Pennsylvania Court of Common Pleas,

Philadelphia County, shall be removed to this Court for all further proceedings
This 23rd day of October 2018

GOLDBERG SEGALLA LLP

By: g /Q@%\,

John A. DeRose
Attorneys for defendants JJAMM Auto

Transport LLC
Dated: October 23, 2018

Case 2:18-cv-O4541-|\/|AK Document 1 Filed 10/23/18 Page 5 of 21

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

DARRYL GARNER, : CIVIL ACTION
Plaintiff,
v.
NO.
JJAMM AUTO TRANSPORT LLC,
JURY TRIAL DEMANDED
Defendant,
AFFIDAVIT

John A. DeRose, Esquire, being sworn according to law deposes and says that she is
counsel for Petitioners, JJAMM Auto Transport LLC, in the within matter; and that he has read
the foregoing Notice for Removal and believes it to be true and correct, to the best of his

knowledge, information and belief.

GOLDBERG SEGALLA LLP

  
 

   

Jo A. DeRose
Attorneys for defendants JJAMM Auto
Transport LLC

Dated: October 23, 2018

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

DARRYL GARNER, : CIVIL ACTION
Plaintiff,
v.
NO.
JJAMM AUTO TRANSPORT LLC,
JURY TRIAL DEMANDED
Defendant,
CERTIFICATE OF SERVICE

 

I, John A. DeRose Esquire, hereby certify that a copy of the attached has been served on

the following individuals by the following means on this 23rd day of October 2018:

VIA ELECTRONIC FILING

Prothonotary
Philadelphia County
City Hall
Philadelphia, PA 19107

VIA FIRST CLASS MAIL

Jason E. Fine, Esquire

1628 John F. Kennedy Blvd,
Suite 2 120

Philadelphia, PA 19103
Attorney for Plaintiff

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EXHIBIT "A"

CaS€ 2218-CV-O4541-|\/|AK

J. FINE LAW GROUP, P.C.
By: Jason E. Fine, Esquire

 

 

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Attorneys for Plaintiff,

 

Attorney ID#: 82452 Darryl Gamer
Michelle Mall, Esquire
Attomey ID#: 318100
1628 John F. Kennedy Blvd., Suite 2120
Philadelphia, PA 19103 ___
Phone: (267) 888-2960
Fax: (267) 687-7018
Email: Jason{a):jfinelaw.com
Michelle@jfinelaw.com
DARRYL GARNER COURT OF COMMON PLEAS
2651 N. Darien Street PHILADELPHIA COUNTY
Philadelphia, PA 19133
Plaintiff, JULY TERM, 2018
v. NO.:
JJAMM AUTO TRANSPORT LLC MAJOR NON JURY CASE
34 Rhode Island Road ASSESSMENT OF DAMAGES
Sicklerville, NJ 08081 HEAR]NG IS REQUIRED
Defendant. :
NOTICE TO DEFEND
NOTICE AVISO

You have been sued in court. If you wish to defend
against the claims set forth in the following pages, you
must take action Within twenty (20) days after this
complaint and notice are served, by entering a written
appearance personally or by attorney and filing in writing
with the court your defenses or objections to the claims
set forth against you. You are warned that if you fail to
do so the case may proceed without you and a judgment
may be entered against you by the court without further
notice for any money claimed in the complaint or for any
other claim or relief requested by the plaintiff You may
lose money or property or other rights important to you.

YOU SHOULD TAKE 'I`HIS PAPER TO YOUR
LAWYER AT ONCE. IF YOU DO NOT HAVE A
LAWYER OR CANNOT AFFORD ONE, GO TO OR
TELEPHONE THE OFFICE SET FORTH BELOW TO
FIND OUT WHERE YOU CAN GET LEGAL HELP.

PHILADELPHIA BAR ASSOCIATION
LAWYER REFERRAL AND INFORMATION
SERVICE
One Reading Center
Philadelphia Pennsylvania 19107
Telephone: (215) 238-1701

Le han demandado a usted en la corte. Si usted quiere
defenderse de estas demandas expuestas en las paginas
siguientes, usted tiene viente (20) dias de plazo al partir de la
fecha de la demanda y la notificacion. Hace falta asentar una
comparesencia escrita o en persona o con un abogado y
entregar a la corte en forma escrita sus defensas o sus
objeciones a las demandas en contra de su persona. Sea
avisado que si usted no se defiende, la corte tomara medidas
y puede continuar la demanda en contra suya sin previo aviso
0 notificacic’)n. Ademés, la corte puede decidir a favor del
demandante y requiere que usted cumpla con todas las
provisiones de esta demanda. Usted puede perder dinero 0
sus propiedades u otros derechos importantes para usted.

LLEVE ESTA DEMANDA A UN ABOGADO
IMMEDIATAMENTE. SI NO TIENE ABOGADO O SI
NO TIENE EL DINERO SUFICIENTE DE PAGAR TAL
SERVICIO, VAYA EN PERSONA 0 LLAME POR
TELEFONO A LA OFIC[NA CUYA DIRECCION SE
ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR
DONDE SE PUEDE CONSEGUIR ASISTENCIA LEGAL.

ASOCIACION DE LICENCIADOS DE FILADELFIA
SERVICIO DE REFERENCIA E INFORMACION
LEGAL
One Reading Center
Filadelfia, Pennsylvania 191107

Case ID: 180703685

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J. FINE LAW GROUP, P.C.
By: Jason E. Fine, Esquire Attomeys for Plaintiff,
Attomey ID#: 82452 Darryl Gamer

Michelle Mall, Esquire

Attomey ID#: 318100

1628 John F. Kennedy Blvd., Suite 2120
Philadelphia, PA 19103

Phone: (267) 888-2960

Fax: (267) 687-7018

Email: Jason@jfinelaw.com
Michelle@jfinelaw.com

 

 

DARRYL GARNER : COURT OF COMMON PLEAS
2651 N. Darien Street : PHILADELPHIA COUNTY
Philadelphia, PA 19133 :

Plaintiff, : JULY TERM, 2018

v. : NO.:

JJAMM AUTO TRANSPORT LLC : MAJOR NON JURY CASE
34 Rhode Island Road : ASSESSMENT OF DAMAGES
Sicklerville, NJ 08081 : HEARING IS REQUIRED

Defendant. '

CIVIL ACTION COMPLAINT

 

21 - MOTOR VEHICLE ACCIDENT

COMES NOW, Plaintiff, Darryl Garner, by and through his counsel, J. Fine Law Group,

P.C., hereby file this Complaint against Defendant, and in support thereof avers as follows:
Parties

l. Plaintiff, Darryl Garner, is an adult individual and citizen of the Commonwealth
of Pennsylvania residing at the above captioned address. (hereaRer referred to as “Plaintiff”).

2. Defendant, Jjamm Auto Transport LLC, is a business, company, carrier, entity,
partnership, franchise, fictitious name, proprietorship or corporation existing and/or qualifying
under the laws of New Jersey and/or Pennsylvania, with a registered office for the acceptance of
service or a principal place of business at the above~captioned address (hereafter referred to as

“Defendant”).

Case ID: 180703685

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Jurisdiction and Venue

3. Plaintiff, Darryl Gamer, hereby incorporates by reference paragraphs one through
two (1-2), inclusive as though same were set forth herein at length.

4. The accident giving rise to the instant matter occurred in the Commonwealth of
Pennsylvania and more specifically in the City and County of Philadelphia,

5. Jurisdiction is appropriate in the Commonwealth of Pennsylvania pursuant to 42
Pa.C.S. § 5322.

6. Venue is appropriate in Philadelphia County pursuant to 246 Pa. Code Rule
302(A) and Pa.R. Civ.P. 2179 and/or Pa.R. Civ.P. 1006.

Common Averments

7. Plaintiff, Darryl Gamer, hereby incorporates by reference paragraphs one through
six (1-6), inclusive as though same were set forth herein at length.

8. On or about August 17, 2016, Plaintiff, Darryl Garner, was lawfully on the street
in front of 2942 E. Tioga Street, in the City and County of Philadelphia, Commonwealth of
Pennsylvania, when suddenly and without waming, a motor vehicle that had detached from a car
hauler that was owned and operated by Defendant and its employees and/or agents, rolled into
and struck Plaintiff, causing Plaintiff to suffer serious and permanent injuries as more fully
described inji'a.

9. At all times material and relevant to this Complaint, Defendant, owned, leased,
controlled and/or had dominion over the car hauler and/or the motor vehicle that rolled into and
struck Plaintiff,

10. The aforesaid motor vehicle collision was a direct result of the negligence andfor
carelessness of Defendant and was due in no manner whatsoever to any act or failure to act on

the part of Plaintiff, Darryl Gamer,

Case ID: 180703685

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COUNT ONE - NEGLIGENCE
DARRYL GARNER v. JJAM]VI AUTO TRANSPORT LLC

11. Plaintiff, Darryl Garner, hereby incorporates by reference paragraphs one through
ten (1-10), inclusive as though same were set forth herein at length.

12. The negligence and/or carelessness of Defendant, by and through its employees
and/or agents, was the direct and proximate cause of the impact described herein, with said
negligence being more fully described as:

(a) failing to properly operate its respective motor vehicle;

(b) failing to maintain a proper and adequate lookout;

(c) failing to properly secure motor vehicle(s) on its car hauler;

(d) operating the car hauler and/or motor vehicle in a negligent and careless
manner;

(e) operating the car hauler and/or motor vehicle without due regard to the
rights, safety, and position of Plaintiff, Darryl Garner;

(f) failing to have the car hauler and/or motor vehicle under proper control so
as to prevent the motor vehicle from striking Plaintiff;

(g) failing to use due care under the circumstances;

(h) failing to warn invitees, independent contractors, licensees, guests, and/or
the general public of the dangerous, hazardous, and unsafe conditions;

(i) failure to take reasonable precautions against the dangerous, hazardous,
and unsafe conditions;

(i) violating the relevant ordinances and the Statutes of the Commonwealth of
Pennsylvania governing the operation of motor vehicles;

(k) failing to inspect for unsafe and/or hazardous conditions; and

(l) inattentiveness while operating a motor vehicle.

Case ID: 180703685

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13. As a direct cause of the impact and negligence described, Plaintiff, Darryl Garner,
suffered serious and permanent losses of body functions including, but not limited to disc
hemiation at C5-6; disc protrusions at C4-5, C6-7, C7-Tl, L5-S1, and L4~5; and annular tears at
C2-3, and C3-4, and various other injuries and ills.

14. As a further result of this accident, Plaintiff, Darryl Gamer, has been obligated to
receive and undergo reasonable and necessary medical treatment and rehabilitative services for
the injuries suffered and to incur various expenses for said treatment and services for which
Defendant is responsible for.

15. As a further result of this accident, Plaintiff, Darryl Gamer, has been obligated to
receive and undergo reasonable and necessary medical treatment and rehabilitative services for
the injuries he has suffered, and to incur various expenses for said treatment and services, and he
may incur various reasonable and necessary future medical expenses from the injuries sustained,
and Defendant, is liable for all the same.

16. As a further result of this accident, Plaintiff, Darryl Gamer, has or may suffer
severe actual loss of his gross income.

17. As a further result of this accident, Plaintiff, Darryl Gamer, has or may suffer
impairment of his earning capacity and power.

18. As a further result of the aforementioned accident, Plaintiff, Darryl Gamer, has
suffered physical pain, aches, mental anguish, and humiliation, inconveniences and loss of life’s
pleasures, and he may continue to suffer same for an indefinite time in the future.

19. As a direct result of this accident, Plaintiff, Darryl Gamer, has been unable to
attend to his daily chores, duties and occupations and may be unable to do so for an indefinite

period of time in the future.

Case ID: 180703685

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WHEREFORE, Plaintiff, Darryl Gamer, demands damages of Defendant, J jam Auto
Transport LLC, in a sum in excess of Fifty Thousand Dollars ($50,000.00) plus interest, costs
and any other relief which this Court may deem appropriate

COUNT TWO - RESPONDENT SUPERIOR
DARRYL GARNER v. JJAMM AUTO TRANSPORT LLC

20. Plaintiff, Darryl Garner, hereby incorporates by reference paragraphs one through
nineteen (1-19) as if fully set forth herein at length.

21. At all times relevant hereto, the driver operating Defendant’s car hauler, was the
employee, servant, family member, friend, or otherwise an agent of Defendant, Jjamm Auto
Transport LLC, and moreover, at all times relevant hereto, the driver operating Defendant’s car
hauler, was acting within the scope of said employment or agency.

WHEREFORE, Plaintiff, Darryl Garner, demands damages of the Defendant, in a sum
in excess of Fifty Thousand Dollars ($50,000.00) plus interest, costs and any other relief which
this Court may deem appropriate

COUNT THREE- NEGLIGENT ENTRUSTMENT
DARRYL GARNER v. JJAMM AUTO TRANSPORT LLC

22. Plaintiff, Darryl Gamer, hereby incorporates by reference paragraphs one through
twenty-one (1-21) as if fully set forth herein at length.

23. The negligence and carelessness of Defendant consisted of, inter alia, the
following:

(a) negligently entrusting their vehicle to an individual who was not equipped to
operate their vehicle safely and/or with due care for others;

(b) negligently entrusting their vehicle to an individual who exhibited a disregard for
the safety and well-being of others; and

(c) failing to properly train and/or instruct the individual operating Defendant’s
vehicle, in the safe operation and usage of his/her motor vehicle,

Case ID: 180703685

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24. As a direct and proximate cause of the aforesaid negligence of Defendant,
Plaintiff Darryl Garner suffered damages as fully described infra in this complaint
WHEREFORE, Plaintiff, Darryl Gamer demands damages of the Defendant, in a sum in
excess of $50,000.00 plus interest, costs and any other relief which this Court may deem
appropriate
Respectfully submitted,

J. FINE LAW GROUP, P.C.

BY: /s/
JASON E. FINE, ESQUIRE
MICHELLE MALL, ESQUIRE
Attomeys for Plaintiff

Case ID: 180703685

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VERIFICATION
I, JASON E. FINE, ESQUlRE, hereby verify that I am counsel for Plaintiff, Darryl Gamer,
and herein state that the statements in the foregoing Civil Action Complaint are true and correct to
the best of my knowledge, information and belief. I am making this Verification on behalf of

Plaintiff, I acknowledge that the foregoing Verification is made subject to the penalties of 18

Pa.C.S.A. §4904 relating to unsworn falsification to authorities

/s/
JASON E. FINE, ESQUIRE

Case ID: 180703685

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EXHIBIT "B"

 

__Case 2:18-cv-O4541-l\/|AK Do`cumentl Fl|ed 10/23/18 Page 1/ or‘21

 

 

 

 

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EXHIBIT "C"

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DeRose, John A.
m

From: DeRose, John A. <jderose@go|dbergsega||a.com>

Sent: Sunday, October 14, 2018 10:25 AM

To: 'jason@jfine|aw.com'; 'Miche|le@jfine|aw.com'

Subject: Darry| Garner v. JJAMM Auto Transport, LLC / Service and Remova| to Federa| Court

[GSLAW-|MANAGE.F|D2358787]

Jason and Miche||e,

l recently entered my appearance on behalf of the defendant in the above-referenced matter. le records indicate that
we have not yet been served with the Complaint. P|ease let me know if my understanding is incorrect. As there is
complete diversity here, it is our intention to remove this matter to federal court if the amount in controversy is in
excess of $75,000.00. |f | do not hear back from you by Tuesday, we will assume that you are seeking an amount greater
than $75,000.00 and prepare to remove this matter to federal court.

| look forward to working with you.

John

John A. DeRose, Esq.

|`derose@go|dbergsega||a.com
P|ease send mail to: PO Box 360, Buffalo, NY 14201

1700 Market Street, Suite 1418 | Philadelphia, PA 19103-3907
DlRECT 267.519.6838 | Ext. 6838 | FAX 267.519.6801 | MoBlLE 856.419.2227

vCard |www.go|dbergsega|la.com

GOLDBERG sEGALLA

New Yorlt l lllinols | Fiori'da l ¢a{lfom|a l Maryland' l Mlssour|
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Privi/eged attomey-clienl communication / attomey's work product This email message and any attachments are confidential If you are not the intended recipient
please immediately reply to the sender and delete the message from your email system.

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EXHIBIT "D"

Case 2:18-cv-O4541-l\/|AK Document 1 Filed 10/23/18 Page 21 of 21

DeRose, John A.
h

From: DeRose, John A. <jderose@goldbergsegal|a.com>

Sent: Monday, October 22, 2018 3:01 PM

To: Jason Fine

Cc: 'Miche|le Mal|'

Subject: RE: Darryl Garner v. JJAMM Auto Transport, LLC / Service and Removal to Federal Court

[GSLAW-|MANAGE.F|D2358787]

Jason,

Thanks for taking the time to speak with me today. As per our discussion, you are unable to sign a stipulation capping
your client's potential recovery at $75,000.00. We will proceed with removing this matter to federal court.

Thanks,

John

John A. DeRose, Esq.

'|derose@go|dbergsegal|a.com
1700 Market Street, Suite 1418 | Philadelphia, PA 19103-3907

DIRECT 267.519.6838 | Ext. 6838 | FAx 267.519.6801 | MoBlLE 856.419.2227
P|ease send mail to: PO Box 360, Buffalo, NY 14201

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